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        United States District Court
                       Southern District of New York

                                                                    11 Civ. 03650 (VSB)(RLE)


                           VONE WYNN,
                                                                    Petitioner,

                                - against -


                        WILLIAM LEE,
        Superintendent, Green Haven Correctional Facility


                                                                   Respondent.


                  ANSWER AND APPENDIX
                    OPPOSING PETITION
               FOR A WRIT OF HABEAS CORPUS

                                         CYRUS R. VANCE, JR.
                                             District Attorney
                                            New York County
                                         Attorney for Respondent
                                            One Hogan Place
                                        New York, New York 10013
                                              (212) 335-9000


                                               By: Jessica Olive
                                                   JO-1903
                                              Attorney of Record


      KAREN SCHLOSSBERG
      JESSICA OLIVE
        ASSISTANT DISTRICT ATTORNEYS
               Of Counsel
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                         11-CV-03650 (VSB) (RLE)
 VONE WYNN,

                                           Petitioner,

                      -against-

 WILLIAM LEE,
 Superintendent, Green Haven Correctional Facility,

                                           Respondent.



        JESSICA OLIVE, an attorney duly admitted to practice law before the

bar of this Court, affirms under penalty of perjury pursuant to 28 U.S.C. § 1746

that:

        1.    I am an Assistant District Attorney, of counsel to CYRUS R.

VANCE, the District Attorney of New York County and, pursuant to an

arrangement with the Attorney General of the State of New York, I appear as

the attorney of record on behalf of the respondent and the interests of the People

of the State of New York in this matter.

        2.    I file this answer and accompanying memorandum of law in

response to the above-captioned petition for a writ of habeas corpus. By that

petition, Vone Wynn seeks a writ of habeas corpus to set aside a judgment of the

Supreme Court, New York County (Charles Solomon, J. at conflict-of-interest
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inquiry; Bonnie G. Wittner, J. at hearings and trial), entered on March 24, 2005.

By that judgment, petitioner was convicted, after a jury trial, of Murder in the

Second Degree (Penal Law § 125.25[1]), and was sentenced to an indeterminate

prison term of 25 years to life. Petitioner is currently incarcerated at the Green

Haven Correctional Facility.

      3.     Wynn’s petition should be denied for the reasons set forth in

respondent’s memorandum of law submitted herewith. Factual statements in

respondent’s memorandum of law are based on the indictment, minutes, briefs

and other records in custody of the New York State Supreme Court, New York

County, and of the New York County District Attorney, cited in the

memorandum. Statements in the petition are denied unless expressly admitted.

      4.     Appended to this Answer as exhibits are copies of the following

documents:

EXHIBITS

      A      A copy of the brief filed by petitioner’s attorney in the Appellate
             Division, First Department (“the Appellate Division”).
      B      A copy of the responsive brief filed by the People in the Appellate
             Division.
      C      A copy of the Appellate Division’s decision on direct appeal, dated
             November 5, 2009.
      D      A copy of petitioner’s leave application to the New York State Court
             of Appeals (“the Court of Appeals”), dated December 28, 2009.
      E      A copy of the People’s response to petitioner’s leave application,
             dated February 4, 2010.
      F      A copy of the decision of Judge Theodore T. Jones, denying
             petitioner leave to appeal to the Court of Appeals, dated March 18,
             2010.
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   G     A copy of the decision of Judge Theodore T. Jones, denying
         petitioner leave to appeal to the Court of Appeals upon
         reconsideration, dated August 3, 2010.
   H     A copy of petitioner’s letter requesting this Court to stay the
         proceedings and hold his habeas petition in abeyance, dated July 14,
         2011.
   I     A copy of the People’s responding letter opposing petitioner’s
         request to stay the proceedings, dated July 27, 2011.
   J     A copy of petitioner’s letter in response to the People’s letter
         opposing petitioner’s request to stay the proceedings, dated August
         11, 2011.
   K     A copy of petitioner’s notice of motion to set aside the judgment
         against him, pursuant to New York Criminal Procedure Law
         (“CPL”) Section 440.10, and affidavit in support, dated June 24,
         2014.
   L     A copy of the People’s responding affirmation and memorandum of
         law in opposition to petitioner’s CPL 440.10 motion, dated
         September 16, 2014.
   M     A copy of the decision of Justice Bonnie G. Wittner, denying
         petitioner’s CPL 440.10 motion, dated November 6, 2014.
   N     A copy of petitioner’s application to renew his CPL 440.10 motion,
         dated December 5, 2014.
   O     A copy of the People’s responding affirmation and memorandum of
         law in opposition to petitioner’s application to renew his CPL 440.10
         motion, dated June 11, 2015.
   P     A copy of petitioner’s notice of motion for permission to appeal
         Justice Wittner’s denial of his CPL 440.10 motion, pursuant to CPL
         Section 460.15, and affidavit in support, dated December 11, 2014.
   Q     A copy of the People’s letter in opposition to petitioner’s CPL 460.15
         motion, dated January 30, 2015.
   R     A copy of the decision of Justice Angela M. Mazzarelli, denying
         petitioner’s CPL 460.15 motion, dated March 30, 2015 and entered
         April 23, 2015.
   S     A copy of the decision of Justice Wittner, denying petitioner’s motion
         to renew his CPL 440.10 motion, dated August 14, 2015.
   T     A copy of petitioner’s notice of application to the Appellate Division
         for permission to appeal Justice Wittner’s denial of his motion to
         renew his CPL 440.10 motion, pursuant to CPL 460.15, and affidavit
         in support, dated October 2, 2015.
   U     A copy of the People’s letter in opposition to petitioner’s CPL 460.15
         motion, dated November 12, 2015.
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        V    A copy of the decision of Justice Sallie Manzanet-Daniels, denying
             petitioner’s CPL 460.15 motion, dated November 23, 2015 and
             entered December 3, 2015.




        5.   Respondent has also provided a copy of the transcripts from

petitioner’s trial and the following court proceedings: April 8 and 29, May 13, 21,

and 27, and June 10, 2004, as well as the suppression hearing of August 19 and 24,

2004.
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      WHEREFORE, it is respectfully requested that the petition for a writ of

habeas corpus be denied pursuant to Rule 8(a) governing 28 U.S.C. Section

§ 2254 cases.



Dated:          July 26, 2016
                New York, New York


                                      CYRUS R. VANCE, JR.
                                      District Attorney, New York County
                                      Counsel for Respondent
                                      One Hogan Place
                                      New York, New York 10013


                                      BY: s/ Jessica Olive
                                        JESSICA OLIVE (JO-1903)
                                        Assistant District Attorney
                                        Attorney of Record for Respondent
                                           Of Counsel
